Appeal: 16-1497    Doc: 49       Filed: 04/24/2017 Pg: 1 of 1
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                          Supreme Court of the United States
                                 Office of the Clerk
                             Washington, DC 20543-0001
                                                                            Scott S. Harris
                                                                            Clerk of the Court
                                                                            (202) 479-3011
                                            April 24, 2017


           Clerk
           United States Court of Appeals for the Fourth
           Circuit
           1100 East Main Street
           Room 501
           Richmond, VA 23219


                   Re: Scottsdale Capital Advisors Corporation, et al.
                       v. Financial Industry Regulatory Authority, Inc.
                       No. 16-1124
                       (Your No. 16-1497)


           Dear Clerk:

                   The Court today entered the following order in the above-entitled case:

                  The petition for a writ of certiorari is denied. Justice Gorsuch took no
           part in the consideration or decision of this petition.



                                                   Sincerely,




                                                   Scott S. Harris, Clerk
